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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE: NATIONAL FOOTBALL

LEAGUE PLAYERS’ CONCUSSION

INJURY LITIGATION

KEVIN TURNER and SHAWN
WOODEN, on behalf of themselves
and others similarly situated,
Plaintiffs,
Vv.
NATIONAL FOOTBALL LEAGUE
and NFL PROPERTIES, LLC,

successor-in-interest to
NFL PROPERTIES, INC.,

Defendants.

THIS DOCUMENTS RELATES TO:

ALL ACTIONS

No. 2:12-md-02323-AB

MDL No. 2323

Civil Action No, 2:14-cv-00029-AB

OBJECTION OF CRAIG HEIMBURGER AND DAWN HEIMBURGER

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adopts it in full, in particular the arguments relating to NFL Europe and the arguments relating to
the problem of narrow settlement benefits that arbitrarily exclude many class members who
suffer injury. (It is unclear whether Mr. Heimburger’s suffering will be deemed to rise to the
level of “Level 1.5 Cognitive Impairment,” and unfair that he is being required to guess what
“approved” doctors will say.) Two settlement classes are not enough for a fact-pattern this
complex (and even if it were, the separate representation is questionable when each of the
attorneys for each of the subclasses separately represented individual clients in the other subclass
and did not ever disclose that conflict). There are many intra-class conflicts, but the one affecting
Heimburger personally is particularly egregious: NFL Europe players had their rights bargained
away to increase the recovery to more prestigious players who were valued enough to be given
an offseason to recover and not have to play in both a spring season and a fall season. The failure
to credit this service time is especially problematic because it falls most heavily on journeymen
players who (1) faced especially brutal practices in an attempt to prove themselves worthy of
staying on the team and (2) are less likely to have five years of full NFL service time. Class
counsel has explicitly admitted that he compromised this unrepresented subclass of players.
Morey Obj. 35. None of the class representatives played for NFL Europe, and even if they had,
separate representation would have been required. Dewey v. Volkswagen AG, 681 F.3d 170 3d
Cir. 2012). Indeed, this settlement is worse for the prejudiced unrepresented subclass than the
one in Dewey. In Dewey, the disfavored unrepresented and uncertified subclass still had a right
of recovery, but the Aypothetical prejudice to the disfavored subgroup required class
decertification in the absence of separate representation—even though there was an explicit
finding by the district court, affirmed by the Third Circuit, that all of the subgroups were treated
fairly and received adequate relief.

Moreover, put simply, the intra-class equity requirement cannot be met when class
members suffered a wide variety of diverse injuries in diverse circumstances. In re Katring
Canal Breaches Litig., 628 F.3d 185, 193-194 (Sth Cir. 2010). Settlement approval and the U.S.

Constitution require a finding of adequacy of class representatives under Rule 23(a)(4). The Rule
